C. P. A. Company, Petitioner, v. Commissioner of Internal Revenue, RespondentC. P. A. Co. v. CommissionerDocket No. 3963United States Tax Court7 T.C. 912; 1946 U.S. Tax Ct. LEXIS 67; October 2, 1946, Promulgated *67 Decision will be entered under Rule 50.  Petitioner issued contracts of insurance under which railroad employees were insured against loss of their jobs through retirement or discharge.  Some of the policies also provided for benefits in case of death.  All of the policies were noncancelable and were issued on the level premium basis.  Before and during the taxable years petitioner maintained reserves with respect to the retirement and death benefit features of its policies.  Held, the amounts in the reserves constituted "unearned premiums" within the meaning of section 204 (b) (5) of the Revenue Act of 1938 and the Internal Revenue Code, and the increases therein during the taxable years are not to be included in gross income. Raymond H. Berry, Esq., Ralph W. Barbier, Esq., and Arthur L. Evely, Esq., for the petitioner.A. J. Friedman,*68  Esq., for the respondent.  Van Fossan, Judge.  VAN FOSSAN *913  The respondent determined deficiencies in income tax against C. P. A. Co. for the years 1938 and 1939 in the respective amounts of $ 16,303.57 and $ 30,974.51.The only issue now in controversy is whether or not the petitioner, in computing its underwriting income for the years in question, is entitled to adjust such income by deducting, as "unearned premiums" under section 204 (b) (5) of the Revenue Act of 1938 and the Internal Revenue Code, a portion of the reserves maintained by it during those years.  Other issues raised by the pleadings were abandoned by the petitioner at the hearing.FINDINGS OF FACT.The following facts were stipulated:The petitioner is a Michigan corporation, with principal office at Detroit, Michigan.The petitioner was incorporated on September 16, 1915, under the Insurance Code of the State of Michigan (Compiled Laws of Michigan, 1929, Title XXIV, ch. 242,) and specifically under section 14 of Part III, ch. I, subdivision 4, of the Insurance Code (Compiled Laws of Michigan, 1929, sec. 12,402,) under the name of Conductors Protective Assurance Co.:To insure railway conductors, railway*69  engineers and railway officials against loss of position resulting from discharge of [sic] retirement, including the taking over of the business, and reinsuring other companies engaged in a similar business.The articles of incorporation provided for a capital stock of $ 25,000, consisting of 250 shares of a par value of $ 100 each.  The capital stock was paid in at the date of incorporation.Under date of October 17, 1916, the articles of incorporation were amended to increase the authorized capital stock to $ 50,000.  Under date of January 15, 1918, the articles of incorporation were again amended to change the authorized and paid-in capital stock to $ 100,000 and to restate the nature of the business:To insure railway conductors, railway engineers and railway officials, first, for loss of position resulting from discharge or retirement; second, against bodily injury or death by accident or against disability on account of sickness.The articles of incorporation were again amended on July 17, 1923, to increase the authorized capital to $ 250,000, consisting of 5,000 shares at $ 50 each, and to amend the purposes of the corporation as follows:First: To insure railway employees*70  against loss of position resulting from discharge or retirement;Second: To insure any person against bodily injury or death by accident or against disability on account of sickness;Third: To insure the lives and health of persons and every insurance pertaining thereto and to grant, purchase, or dispose of annuities.*914  Under date of January 17, 1933, the articles of incorporation were again amended, to provide for a change in the name of the corporation from Conductors Protective Assurance Co. to "C. P. A. Company."The petitioner is the only corporation operating under those provisions of the statutes of the State of Michigan under which it was organized.During the years in question the petitioner had outstanding and in force thirteen different types of insurance policies, copies of which were introduced as exhibits attached to the stipulation.  These include preferred policy, guarantee policy, new special policy, standard policy, new special series A policy, new preferred policy, and new standard policy, all of which provided for the discharge benefit and a retirement benefit due to disability or old age, the amount of which was dependent upon the length of time the policy*71  had been in force.  All seven of these policies provided for burial benefits or benefits for death due to natural causes, either in a stated amount or the return of all premiums paid. The preferred, guarantee, and standard policies provided also for payment in the event of accidental death.The death or burial benefits set forth in the policies had no connection with the discharge or retirement benefits, the payment of which was dependent upon the length of time the policies were in effect.  Upon the insured's reaching the retirement age he received the amount definitely set forth in the policy.In the event the insured died prior to the date of retirement the beneficiary did not receive the amount indicated on the face of the policy as discharged or retirement benefits, but received only the death or burial benefits, regardless of how much the insured had paid to the petitioner as premiums. On the new special, guarantee, and new special series A policies, upon death due to natural causes prior to the insured's discharge or the expiration of the retirement period, the beneficiaries received only the actual amount of premiums paid in on the policy.  In the preferred and new preferred*72  policies, upon death due to natural causes, the beneficiary received $ 500 or the premiums previously paid in, whichever was greater.  The preferred policy further provided that in case of accidental death the beneficiary should receive $ 1,000, or the premiums, whichever was greater.  The standard policy provided for a funeral benefit of $ 500, with double indemnity in case of accidental death. The new standard policy provided for a funeral benefit of $ 250.Three other policies, designated new regular, master, and no age limit policies, provided for the payment of $ 5 a day for a stipulated number of days in the event of the discharge of the insured. The new regular and master policies provided for payment of $ 500 to the insured in case of accidental permanent disability and for payment of *915  $ 500 to the beneficiary in case of accidental death. The no age limit policy carries no provision for burial or death benefits. Two other policies, designated regular and special, provided indemnity for discharge, permanent disability, or retirement, dependent upon the length of time the policy had been in force, with no provision for funeral or death benefits. The last policy, *73  designated funeral benefit policy, provided solely for the payment of $ 500 upon the death of the insured.All of the policies, except the regular, provided that the premium is based on an annual payment of a stated amount payable in advance.  The regular policy provides for the premium to be paid monthly.The record discloses the following additional facts:All the policies are noncancelable by the petitioner and the insured can keep the policy in force simply by paying the premiums fixed in the policies.All the policies issued by the petitioner are issued upon the "level premium plan," that is, the premium is in a constant and fixed amount which can not be increased by the petitioner during the life of the policy.Before and during the taxable years here in controversy the petitioner maintained reserves set aside from the premiums collected, which were held exclusively against its unaccrued and contingent liability for either the death benefit or retirement benefit payable under the policies in force during such years.  The retirement reserves and the death benefit reserves were separately maintained.  The petitioner maintains no reserve for discharge benefits payable under the*74  various policies.The types of policies, the number of each type outstanding, and the death and retirement reserves established for each as of December 31 for each of the years 1937, 1938, and 1939, were as follows:December 31, 1937Number ofRetirementPlanpoliciesreserveDeath reserveOld regular899$ 192,127Special and new special3,276928,466$ 72,074Preferred3,926571,24863,993Standard572126,7846,099Guarantee706425,20149,805New special "A"4416New preferred13041New regular5,27513,064Master1,0321,336No age limit710Total2,243,883206,3712,243,883Reserve for accidental death under those of&nbsp;above policies which provide for additional&nbsp;benefits in event of accidental death3,500Total reserves2,453,754*916 December 31, 1938Number ofRetirementPlanpoliciesreserveDeath reserveOld regular775$ 155,845.62Special and new special3,003881,397.45$ 73,296.00Preferred3,632625,240.6273,105.00Standard529128,339.646,440.00Guarantee746410,550.9351,512.00New special "A"114913.68196.00New preferred6201,887.30907.00New standard520.257.00New regular5,32917,859.00Master1,1772,270.00No age limit751Total2,204,195.49225,592.002,204,195.49Reserve for accidental death under those of above&nbsp;policies which provide for additional benefits inevent of accidental death4,158.75Total reserves2,433,946.24*75 December 31, 1939Number ofRetirementPlanpoliciesreserveDeath reserveOld regular676$ 148,268Special and new special2,781867,938$ 71,849Preferred3,426666,01681,541Standard510168,4506,753Guarantee754405,46457,304New special "A"1403,089540New preferred1,02413,7683,169New standard517437Funeral benefits7710,209Conversions331,051New regular6,40421,488Master1,4313,452No age limit823Total2,273,167257,3932,273,167Reserve for accidental death under those of&nbsp;above policies which provide for additional&nbsp;benefits in event of accidental death4,406Total reserves2,534,966Prior to 1937 the petitioner computed the reserves set up and maintained by it against the liability for retirement and death benefits under the issued and outstanding policies on the basis of the American Experience Table of Mortality, with an assumed rate of interest of 4 per cent.  The reserve used on the retirement feature of the policies was computed in the same manner as a pure endowment reserve maturing at the age of 70 for the amount of the retirement benefit payable under*76  each individual contract at that age.  The death benefit (life) reserve was considered a yearly renewable term insurance and was computed and established on that basis.In 1937 the Railroad Retirement Act (Title 45, U. S. C. A., ch. 9) was amended so as to allow railroad employees to retire on full benefits *917  at the age of 65 instead of at age 70, as had been the previous retirement age.  The petitioner then caused a detailed study to be made of its experience and that of its predecessor which covered the years 1907 to 1937.  This 30 years' experience covered approximately 52,000 years of exposure (i. e., the operations for one year of 52,000 policies).  From this investigation a table of mortality was compiled setting forth the probability of any railroad man at any given age being discharged, retired, dying, or permitting his policy to lapse in a given year at that age.  In compiling this table, the reserves used on the retirement and life insurance features of the policies were computed in the same manner as pure endowment reserves maturing at the age of 65 for the amount of the retirement or life insurance benefits payable under each individual*77  contract at that age.  This table also assumed an interest rate of 4 per cent.The table of mortality used by the petitioner was compiled in accordance with proper actuarial practice.  The data upon which it was based were sufficiently comprehensive to permit substantially correct conclusions to be reached.It was proper for the petitioner to use its own table of mortality, since, owing to the unique character of its business, there was no standard table which would meet the petitioner's needs.On March 4, 1938, the petitioner addressed a letter to the Department of Insurance of the State of Michigan, requesting an opinion as to the necessity of maintaining the reserves heretofore mentioned.  On March 7, 1938, the Department of Insurance of the State of Michigan replied by letter reading, in part, as follows:Altho no specific provision is made in this section [the section of the Michigan statutes under which the petitioner was organized] for the maintenance of reserves on business of the type you write, this department would not allow your company to operate unless provision was made for adequate reserves.  * * * It can be stated in no uncertain terms that reserves must be built *78  up and maintained if your company is to remain solvent.On its returns for 1938 and 1939 the petitioner claimed as deductions 4 per cent of the mean amounts in the reserves.  These deductions were disallowed by the respondent.OPINION.The only question for our determination is whether or not the amounts placed by the petitioner in its reserves during the taxable years here in controversy constitute "unearned premiums" within the meaning of section 204 (b) (5) of the Revenue Act *918  of 1938 and the Internal Revenue Code.  The pertinent provisions of the statutes are set forth in the margin.  1*79 As a prefatory note, it may be stated that there is no contention that the petitioner is a life insurance company, taxable as such under section 201 of the applicable act and the code.  That question was decided adversely to the petitioner in proceedings before the Board of Tax Appeals, reported at , and the petitioner does not now question the soundness of that decision.A brief review of the salient facts may be of aid in presenting the issue raised.  The petitioner was organized to provide job insurance for railway employees.  The principal features of the polices were their retirement and discharge provisions, although some of them also contained provisions for death and disability benefits.  The policies were all noncancelable and were issued upon the level premium basis; that is, the insured could keep the polices in force simply by paying the premiums and the amount of the premiums could not be changed by the petitioner during the life of the policy.  Both before and during the years here in question the petitioner maintained reserves set aside from the premiums collected which were held exclusively against its unsecured and contingent*80  liabilities for either the death benefits or retirement benefits, payable under the policies in force during such years.  On its returns for 1938 and 1939 the petitioner claimed 4 per cent of the mean of these reserves as deductions from gross income. These deductions were disallowed by the respondent.The respondent contends that as used in the statute the term "unearned premiums" means premiums collected for insurance in advance for periods which fall in the succeeding year; that such amounts have already been allowed the petitioner as deductions; and that it is not entitled to the further deductions it now seeks.The petitioner contends that, in addition to the amounts allowed by the respondent, there must also be included in unearned premiums that portion of the premiums over and above the actual costs of the insurance for the period for which the premiums are paid which represents the amount which must be set aside in order to meet the excess of claims in later years over the level premium then collected.*919  The petitioner relies upon . In that case the petitioner*81  engaged in the business of writing level premium noncancelable health and accident polices.  The taxpayer maintained a reserve "to meet the additional hazards on noncancellable health and accident policies due to the fact that the premiums must remain constant while the risk and cost inevitably increase." In its returns the taxpayer sought to adjust its gross income by the net change during the year in its reserve under section 246 (b) (5) of the Revenue Act of 1926, which, for present purposes, is identical with the section with which we are here concerned.  The court held the taxpayer entitled to the deduction it sought, saying that the addition to the reserve fund constituted a part of the "unearned premiums" within the meaning of the statute.  In its opinion, the court said:In a non-cancellable health and accident policy the premium remains level throughout the life of the policy * * * even though the risk insured against increases with the age of the insured and even though the claim costs in the later years of the policy are, therefore, correspondingly greater than those of the earlier years.  It follows, therefore, that in each of the earlier years of a non-cancellable policy*82  the net annual premium collected exceeds the cost of the insurance for those years, while in each of the later years, the cost exceeds the net annual premium. Therefore, the additional reserve for non-cancellable health and accident policies is set up and used to supplement the net annual premiums of such policies in the later years to the extent that the prospective cost in those years exceeds the net annual premiums. .* * * *As long as these reserve funds must be held to provide for expected insurance liabilities in the future on these non-cancellable health and accident polices and are not to be used for the general purposes of the company, they are not "earned premiums" within the meaning of Congress and not includible in gross income. * * *The respondent seeks to distinguish the Massachusetts Protective Association, Inc. case, and other cases cited by the petitioner, from the case at bar on the ground that in those cases the company involved wrote contracts containing almost exclusively life or health and accident features, whereas the policies here were predominantly*83  retirement policies.  If we accept this as a correct statement, however, we do not think that such a distinction has substance.  Whether or not the amounts in the reserve constitute unearned premiums is not to be determined solely by reference to the type of policies issued, but primarily by the nature of the reserve and the purpose for which it is maintained.We perceive no essential difference between the reserves maintained in the instant case and that maintained in the case cited above.  The reserves maintained for the death benefits under the petitioner's policies are clearly of the same type as those used in the Massachusetts*920  Protective Association, Inc., case, supra.  And we think the retirement reserves require similar treatment.  One of the petitioner's witnesses testified on cross-examination that when the contract is comparatively new the cost of insurance is much less than it is as the contract becomes older.  Consequently, when the contract is new a portion of the premium is placed in the reserve in order to provide funds for the payment of the policies as they mature, since, at that time, the cost of the insurance will approximately equal the amount*84  of premium collected. Another witness called by the petitioner as an expert gave testimony of similar import and testified that the maintenance of the reserves by the petitioner was essential in order for it to have sufficient funds to pay the claims as they matured.From all this we think it is sufficiently evident that the reserves maintained by the petitioner with respect to the retirement and life insurance features of its policies constituted unearned premiums within the meaning of section 204 (b) (5) and that the amounts placed therein during the taxable years are not a part of its gross income. We so hold.  See ; ; reversed on another point, .It appears, however, that the petitioner has incorrectly computed the adjustment to which it is entitled under section 204 (b) (5).  The section provides that in determining premiums earned there shall be deducted from gross premiums the return premiums and premiums paid for reinsurance.  To the result so obtained there is*85  to be added the unearned premiums on outstanding business at the end of the preceding taxable year and there is to be deducted the unearned premiums on outstanding business at the end of the taxable year. In other words, the petitioner is entitled to an adjustment measured by the net increase in the reserve account during the taxable year. The petitioner has not followed this procedure, however, but has deducted 4 per cent of the mean of the reserves.  While such a deduction is provided for in computing the net income of life insurance companies (section 203 (a) (2)), there is no warrant for such action in the section here under consideration.  However, all the facts necessary for the correct computation are in the record.  In view of the abandonment of certain issues by the petitioner, a recomputation of the deficiencies will be required and the proper adjustment on account of unearned premiums can be made at that time.Decision will be entered under Rule 50.  Footnotes1. SEC. 204. INSURANCE COMPANIES OTHER THAN LIFE OR MUTUAL.* * * *(b) Definition of Income, Etc.  -- In case of an insurance company subject to the tax imposed by this section --* * * *(4) Underwriting income.  -- "Underwriting income" means the premiums earned on insurance contracts during the taxable year less losses incurred and expenses incurred;(5) Premiums earned.  -- "Premiums earned on insurance contracts during the taxable year" means an amount computed as follows:From the amount of gross premiums written on insurance contracts during the taxable year, deduct return premiums and premiums paid for reinsurance.  To the result so obtained add unearned premiums on outstanding business at the end of the preceding taxable year and deduct unearned premiums on outstanding business at the end of the taxable year.* * * *↩